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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


  MISTY SNOW, et al.,                               Case No. 21-cv-03269-VC
                 Plaintiffs,
                                                    ORDER DENYING RENEWED
          v.                                        MOTION FOR PRELIMINARY
                                                    APPROVAL
  ALIGN TECHNOLOGY, INC.,
                                                    Re: Dkt. No. 628
                 Defendant.



       The renewed motion for preliminary approval is denied. The defendant in this antitrust

case is a monopolist. The proposed settlement includes a coupon program that will direct still

more customers to the monopolist. It’s not clear that such a settlement would ever be appropriate

in an antitrust class action against a monopolist. But regardless, the parties have not convinced

the Court that it would be fair, reasonable, and adequate on these facts.

       The parties informed the Court that they would work to achieve an alternative settlement

structure if this one were rejected. Accordingly, rather than resuming the litigation immediately,
the Court will set a case management conference for April 18, 2025, to give the parties an

opportunity to submit a new settlement for approval. In the event none is offered, the Court will

issue a more detailed ruling explaining the denial of this motion, and a new litigation schedule

will be set at the case management conference.

       IT IS SO ORDERED.

Dated: February 27, 2025
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge
